
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Tolar Mitchell Locke, Defendant-Appellant. No. 20CA1551Court of Appeals of Colorado, First DivisionJanuary 6, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Jefferson County District Court No. 19CR2593 Honorable Tamara
      S. Russell, Judge
    
    
               
      OPINION
    
    
                DUNN,
      JUDGE
    
    
               SENTENCE
      AFFIRMED
    
    
                Dailey
      and Kuhn, JJ., concur.
    
    